Case 1:16-cv-20417-CMA Document 284 Entered on FLSD Docket 05/03/2023 Page 1 of 6




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                  Case No.: 16-20417-Civ-COOKE/TORRES

     PETERBROOKE FRANCHISING OF
     AMERICA, LLC,

                     Plaintiff,


     v.

     MIAMI CHOCOLATES, LLC,
     CHARLES MCDONALD and
     JUDY MCDONALD

                     Defendants.

     _________________________________/

          PLAINTIFF’S AMENDED MOTION FOR ATTORNEYS’ FEES AND COSTS

            Plaintiff, Peterbrooke Franchising of America, LLC (“PFA”), by and through undersigned

    counsel and pursuant to S.D. Fla. Local Rule 7.3, hereby submits its Motion for Attorneys’ Fees

    and Costs pursuant to the Court’s Amended Final Judgment Order [ECF No. 278].

    I.      Procedural Background

            1.      On February 4, 2016, PFA commenced this action against Defendant, Miami

    Chocolates, LLC (“Miami Chocolates”), for violations of the Lanham Act, common law trademark

    infringement, common law unfair competition, and breach of the Franchise Agreement. [ECF No.

    1].

            2.      On February 5, 2016, Miami Chocolates filed a counterclaim against PFA, which

    asserted claims against PFA for breach of contract, breach of the implied covenant of good faith

    and fair dealing, violation of Florida’s Deceptive and Unfair Trade Practices Act, and sought

    declaratory relief. [ECF No. 6].

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Case 1:16-cv-20417-CMA Document 284 Entered on FLSD Docket 05/03/2023 Page 2 of 6




            3.      On June 23, 2016, PFA filed its Amended Complaint, which asserted the following

    causes of action: (i) Violations of the Lanham Act (Counts I and II) against all Defendants; (ii)

    Common Law Trademark Infringement (Count III) against all Defendants; (iii) Common Law

    Unfair Competition (Count IV) against all Defendants; and (iv) Breach of the Franchise Agreement

    (Count V) against Miami Chocolates. [ECF No. 63].

            4.      The parties filed dispositive motions as it relates to all claims and counterclaims

    pled in the Amended Complaint and Counterclaim, respectively. On February 28, 2018, the Court

    entered its Omnibus Order on Motions for Summary Judgment, granting PFA’s Motion for

    Summary Judgment as to Count IV (common law unfair competition) and Count V (breach of the

    franchise agreement). All other remaining claims were disposed. [ECF No. 202].

            5.      On December 22, 2020, the Court entered final judgment in favor of PFA. [ECF

    No. 239].

            6.      Thereafter, on January 21, 2021, Defendants, Miami Chocolates, LLC, Charles

    McDonald, and Judy McDonald, filed a Notice of Appeal [ECF No. 240] of the December 22,

    2020 Final Judgment [ECF No. 239].

            7.      On October 11, 2022, the United States District Court for the Eleventh Circuit

    issued its opinion which vacated the District Court’s Final Judgment [ECF No. 239] and remanded

    the case for further proceedings.

            8.      In accordance with the Eleventh Circuit’s instructions, this matter was reopened for

    further proceedings on November 14, 2022. [ECF No. 254].

            9.      On March 2nd and 3rd, 2023, the parties conducted a Bench Trial before the District

    Court. At the conclusion of the Bench Trial, the District Court found in Plaintiff’s favor [ECF No.

    278] on Count V for Breach of Contract and reinstated the original Final Judgment [ECF No. 239],


                                                 2
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Case 1:16-cv-20417-CMA Document 284 Entered on FLSD Docket 05/03/2023 Page 3 of 6




    with updated interested calculations.

            10.     This Motion is timely filed to seek recovery of PFA’s attorneys’ fees and costs

    pursuant to Section 21.4 of the Franchise Agreement and Section 501.2105 of the Florida Statutes.

    II.     Fees and Costs Incurred

            PFA has incurred a total of $246,258.50 in attorneys’ fees which comprises a total of 666.8

    hours of time among attorneys, paralegals, and law clerks and total costs in the amount of

    $5804.66. The timekeepers for whom fees are sought include:

            1.      Robert M. Einhorn, named partner and highly experienced commercial trial lawyer

    and member of the Florida Bar since 1990; $525.00 per hour for 251.65 hours totaling

    $132,116.25.

            2.      Alaina B. Siminovsky, former associate and member of the Florida Bar since 2009;

    $275.00 per hour for 47.1 hours totaling $12,952.50.

            3.      Melissa Softness, former associate and member of the Florida Bar since 2012;

    $275.00 per hour for 241.95 hours totaling $66,536.25.

            4.      Paul Bared, former associate and member of the Florida Bar since 2015; $275.00

    per hour for 9.2 hours totaling $2530.00.

            5.      Michael Braunstein, former law clerk and current associate, and member of the

    Florida Bar since 2017; $135.00 per hour for 8.7 hours totaling $1174.50.

            6.      Brenda Phang, former law clerk and current associate, and member of the Florida

    Bar since 2018; $135.00 per hour for 3.5 hours totaling $472.50.

            7.      Courtney Hutchison, former law clerk and associate, and member of the Florida

    Bar since 2019; $135.00 per hour for 1.1 hour totaling $148.50.

            8.      Alec Shelowitz, current associate and member of the Florida Bar since 2018;


                                                 3
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Case 1:16-cv-20417-CMA Document 284 Entered on FLSD Docket 05/03/2023 Page 4 of 6




    $460.00 per hour for 48.7 hours totaling $22,402.00.

            9.      Cecilia Miranda (Hernandez), former associate, and member of the Florida Bar

    since 2020; $275.00 per hour for 2.1 hours totaling $577.50.

            10.     Madison Adams, current law clerk; $135.00 per hour for 12 hours totaling

    $1620.00.

            11.     Nadia Espinosa, senior paralegal since 2008; $195.00 per hour for 39.8 hours

    totaling $6965.00.

            12.     Anite Coro, paralegal since 2018; $95.00 per hour for 1 hours totaling $95.00.

            The Affidavit of Robert M. Einhorn in support of PFA’s Motion for Attorneys’ Fees and

    Costs is included as Exhibit “A.” A detailed description of the tasks completed by the

    professionals listed above are included in a detailed time submittal report attached hereto as

    Exhibit “B.” Attorney-client privileged information has been redacted from the Report. The

    amount of fees and costs incurred in this matter is reasonable given the diligence and efficient use

    of time and labor incurred required to litigate this mater in such a short amount of time and the

    results achieved.



    III.    Argument

            In considering the amount of attorneys’ fees to award to a prevailing party, courts consider

    the following criteria: (i) the time and labor required, the novelty and difficulty of the question

    involved, and the skill requisite to perform the legal service properly; (ii) the likelihood, if apparent

    to the client, that the acceptance of the particular employment will preclude other employment by

    the lawyer; (iii) the fee customarily charged in the locality for similar legal services; (iv) the

    amount involved and the results obtained; (v) the time limitations imposed by the client or the


                                                 4
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Case 1:16-cv-20417-CMA Document 284 Entered on FLSD Docket 05/03/2023 Page 5 of 6




    circumstances; (vi) the nature and length of the professional relationship with the client; (vii) the

    experience, reputation, and ability of the lawyer or lawyers performing the services; and (viii)

    whether the fee is fixed or contingent. Florida Patient’s Compensation Fund v. Rowe, 472 So.2d

    1145, 1150 (Fla. 1985); see also Baratta v. Valley Oak Homeowners’ Ass’n. of the Vineyards, Inc.,

    928 So. 2d 495 (Fla. 2d DCA 2006).

            PFA is entitled to reimbursement of its attorneys’ fees in the amount of $246,258.50. A

    reasonable hourly rate is the prevailing market rate in the relevant legal community for similar

    services by lawyers of reasonably comparable skills, experience, and reputation. Norman v.

    Housing Authority of City of Montgomery, 836 F.2d 1292, 1299 (11th Cir. 1988). The fees charged

    by the various lawyers assigned to this matter are reasonable and the limited time spent reflects

    that the work was performed in a very efficient manner. The costs incurred by PFA in the amount

    of $5804.66 are also reasonable.

            Accordingly, PFA requests then entry of a Final Judgment Awarding Attorneys’ Fees and

    Costs in the amount of $246,258.50 in attorneys’ fees and $5804.66 in costs for a total sum of

    $252,063.16.



    IV.     Conclusion

            WHEREFORE, Plaintiff, Peterbrooke Franchising of America, LLC, respectfully requests

    that this Honorable Court: (i) grant the instant Motion and (ii) award it $246,258.50 in attorneys’

    fees and $5804.66 in costs, plus any additional ongoing attorneys’ fees and costs.

                        LOCAL RULE 7.1 CERTIFICATE OF CONFERRAL

            Undersigned counsel certifies that on May 2, 2023, counsel for Plaintiff and Defendants

    conferred upon the relief sought in this instant Motion and the Defendants’ counsel advised that


                                                 5
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Case 1:16-cv-20417-CMA Document 284 Entered on FLSD Docket 05/03/2023 Page 6 of 6




    Defendants do not dispute the Plaintiff’s counsels’ hourly rates or amounts sought to be collected

    but does contest Plaintiff’s entitlement to prevailing party fees and costs.

    Dated: May 3, 2023                             Respectfully submitted,

                                                   ZARCO EINHORN SALKOWSKI, P.A.
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                                                   By: s/ Robert M. Einhorn_
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                                      CERTIFICATE OF SERVICE

            I hereby certify that on May 3, 2023, the foregoing document is being served this day on

    counsel for Defendants, Leon F. Hirzel and Patrick G. Dempsey, HIRZEL DREYFUSS &

    DEMPSEY, PLLC, 2333 Brickell Avenue, Suite A-1 Miami, Florida 33129, via the Court’s

    CM/ECF system.

                                                           /s/ Robert M. Einhorn




                                                 6
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